              Case 17-01459-JMM                       Doc 40          Filed 12/15/17 Entered 12/15/17 18:26:00                                     Desc Main
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 Fill in this information to identify your case:

 Debtor 1                   Nathan Ward Pyles
                            First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO

 Case number           17-01459-JDP
 (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B               Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral    Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this     portion
                                                                                                            value of collateral.   claim                  If any
         Bridger Street
 2.1                                                                                                          $370,000.00               $500,000.00                   $0.00
         Apartments                               Describe the property that secures the claim:
         Creditor's Name                          6268 W. Lake Hazel Road Nampa, ID
                                                  83687 Ada County
                                                  Property includes 5 acres
                                                  Debtor has legal title only and does
                                                  not claim an equitable interest in
                                                  property.
                                                  As of the date you file, the claim is: Check all that
         8737 Craydon Drive                       apply.
         Boise, ID 83704-3312                      Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred          July, 2012                Last 4 digits of account number


 2.2     Chase Auto Finance                       Describe the property that secures the claim:                 $75,000.00                Unknown             Unknown
         Creditor's Name
                                                  2016 Chevrolet Denali 25,000 miles
                                                  in good condition
                                                  As of the date you file, the claim is: Check all that
         PO Box 78067                             apply.
         Phoenix, AZ 85062-8067                    Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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 Debtor 1 Nathan Ward Pyles                                                                                Case number (if know)   17-01459-JDP
              First Name                  Middle Name                     Last Name


  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2016                        Last 4 digits of account number


        Wells Fargo Dealer
 2.3                                                                                                             $40,211.49           Unknown             Unknown
        Services                                   Describe the property that secures the claim:
        Creditor's Name                            2016 Dodge Ram 24,000 miles
                                                   in good condition
        PO Box 51963
                                                   As of the date you file, the claim is: Check all that
        Los Angeles, CA                            apply.
        90051-6263                                  Contingent
        Number, Street, City, State & Zip Code      Unliquidated
                                                    Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
  Debtor 1 only                                    An agreement you made (such as mortgage or secured
  Debtor 2 only                                        car loan)
  Debtor 1 and Debtor 2 only                       Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another          Judgment lien from a lawsuit
  Check if this claim relates to a                 Other (including a right to offset)
       community debt

 Date debt was incurred         2015                        Last 4 digits of account number        2936


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $485,211.49
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $485,211.49

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                   Nathan Ward Pyles
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO

 Case number           17-01459-JDP
 (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
        Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Idaho State Tax Commission                             Last 4 digits of account number                                  $0.00              $0.00               $0.00
              Priority Creditor's Name
              P.O. Box 36                                            When was the debt incurred?
              800 Park Blvd
              Boise, ID 83722
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Listed for Notice Purposes Only




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 Debtor 1 Nathan Ward Pyles                                                                                  Case number (if know)           17-01459-JDP

 2.2        Internal Revenue Service                                 Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            PO BOX 7346                                              When was the debt incurred?
            Philadelphia, PA 19114
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                             Contingent
         Debtor 1 only                                               Unliquidated
         Debtor 2 only                                               Disputed
         Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

         At least one of the debtors and another                     Domestic support obligations
         Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
         No                                                          Other. Specify
         Yes                                                                            Listed for Notice Purposes Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Adamson Pump & Drilling, Inc                               Last 4 digits of account number                                                                    $4,960.75
            Nonpriority Creditor's Name
            1320 Smith Ave.                                            When was the debt incurred?
            Nampa, ID 83651
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

             Debtor 1 only                                             Contingent
             Debtor 2 only                                             Unliquidated
             Debtor 1 and Debtor 2 only                                Disputed
             At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community                    Student loans
            debt                                                        Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

             No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                            Services provided to Shiloh Management
             Yes                                                       Other. Specify     Services, Inc.




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 39
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 Debtor 1 Nathan Ward Pyles                                                                               Case number (if know)        17-01459-JDP

 4.2      Adeol Adeyemi IRA                                          Last 4 digits of account number                                                         $19,000.00
          Nonpriority Creditor's Name
          10096 W. Fairview Ave.                                     When was the debt incurred?
          Ste. 160
          Boise, ID 83704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.3      Air Comfort                                                Last 4 digits of account number                                                           $1,326.58
          Nonpriority Creditor's Name
          PO Box 989                                                 When was the debt incurred?           November 2016
          Caldwell, ID 83606-0989
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Household maintenance


 4.4      American Express                                           Last 4 digits of account number       2009                                              $78,084.50
          Nonpriority Creditor's Name
          P.O. Box 0001                                              When was the debt incurred?           2014-current
          Los Angeles, CA 90096-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card purchases




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 4.5      American Express                                           Last 4 digits of account number       1010                                                $1,000.00
          Nonpriority Creditor's Name
          P.O. Box 0001                                              When was the debt incurred?           2015-current
          Los Angeles, CA 90096-0001
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card purchases


 4.6      AvCenter                                                   Last 4 digits of account number                                                             $527.52
          Nonpriority Creditor's Name
          1483 FlighLine Box 12                                      When was the debt incurred?
          Pocatello, ID 83204
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.7      Bar XL, LLC                                                Last 4 digits of account number                                                           $1,800.00
          Nonpriority Creditor's Name
          PO Box 785                                                 When was the debt incurred?
          Caldwell, ID 83606
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Services provided to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.




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 4.8      Beldon LLC                                                 Last 4 digits of account number                                                        $328,000.00
          Nonpriority Creditor's Name
          904 E Maple Street                                         When was the debt incurred?
          Caldwell, ID 83605
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.9      Bill Brinkley                                              Last 4 digits of account number                                                        $120,000.00
          Nonpriority Creditor's Name
          287 S Jakes Landing Way                                    When was the debt incurred?
          Star, ID 83669
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 0        Brendan Scott                                              Last 4 digits of account number                                                         $80,000.00
          Nonpriority Creditor's Name
          4900 N. Rd. H                                              When was the debt incurred?
          Vale, OR 97918
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.1
 1        Capital One                                                Last 4 digits of account number       7464                                                $9,543.00
          Nonpriority Creditor's Name
          PO Box 30285                                               When was the debt incurred?           2014-current
          Salt Lake City, UT 84130-0285
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card purchases


 4.1
 2        Cardinal Equity, LLC                                       Last 4 digits of account number                                                        $150,000.00
          Nonpriority Creditor's Name
          30 Wall Street                                             When was the debt incurred?
          New York, NY 10005
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans made to Clear Portal, LLC


 4.1
 3        Cash Capital                                               Last 4 digits of account number                                                         $25,000.00
          Nonpriority Creditor's Name
          475 Northern Blvd                                          When was the debt incurred?
          Floor 3, Ste. 36
          Great Neck, NY 11021
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan made to Clear Portal, LLC




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 4.1
 4        Century Link                                               Last 4 digits of account number                                                             $360.00
          Nonpriority Creditor's Name
          PO Box 29040                                               When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Services for Shiloh Management Services,
           Yes                                                       Other. Specify     Inc.

 4.1
 5        Charles Darby                                              Last 4 digits of account number                                                        $380,000.00
          Nonpriority Creditor's Name
          2056 W Grant Teton Drive                                   When was the debt incurred?
          Meridian, ID 83646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 6        Chase Bank                                                 Last 4 digits of account number       5526                                                $5,000.00
          Nonpriority Creditor's Name
          Card Member Services                                       When was the debt incurred?           March 2017
          P.O. Box 94014
          Palatine, IL 60094-4014
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Business Expense - now closed




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 4.1
 7        Chris C Cusimano, DDS                                      Last 4 digits of account number       4527                                                $1,948.00
          Nonpriority Creditor's Name
          345 W. Iowa Avenue                                         When was the debt incurred?           2016
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical expense - Braces


 4.1
 8        Chris Stark                                                Last 4 digits of account number                                                         $15,000.00
          Nonpriority Creditor's Name
          7605 NE 167th St.                                          When was the debt incurred?
          Kenmore, WA 98028
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.1
 9        Christine & Brad Williamson                                Last 4 digits of account number                                                         $35,000.00
          Nonpriority Creditor's Name
          10126 Bayard Court                                         When was the debt incurred?
          Orlando, FL 32836
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.2
 0        CNS Company, LLC                                           Last 4 digits of account number                                                        $373,500.00
          Nonpriority Creditor's Name
          13176 Oak Crest Driver                                     When was the debt incurred?
          Yucaipa, CA 92399
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.2
 1        Collection Bureau Inc                                      Last 4 digits of account number       3573                                                  $429.28
          Nonpriority Creditor's Name
          PO BOX 1219                                                When was the debt incurred?           2017
          Nampa, ID 83653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Collection


 4.2
 2        Connie Wagner                                              Last 4 digits of account number                                                         $20,000.00
          Nonpriority Creditor's Name
          3040 N Willow Side Avenue                                  When was the debt incurred?
          Meridian, ID 83646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.2
 3        Courtesy Enterprises, Inc                                  Last 4 digits of account number                                                        $113,000.00
          Nonpriority Creditor's Name
          4817 Southside Blvd                                        When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.2
 4        Credit One Bank (MasterCard)                               Last 4 digits of account number                                                             $600.00
          Nonpriority Creditor's Name
          Payment Services                                           When was the debt incurred?
          P.O Box 60500
          City of Industry, CA 91716-0500
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Personal credit card use


 4.2
 5        Credit One Bank (Visa)                                     Last 4 digits of account number                                                             $600.00
          Nonpriority Creditor's Name
          Credit Services                                            When was the debt incurred?
          P.O. Box 60500
          City of Industry, CA 91716
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Personal credit card use




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 4.2
 6        Daniel Becarra                                             Last 4 digits of account number                                                         $80,000.00
          Nonpriority Creditor's Name
          4817 Southside Blvd                                        When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.2
 7        David Cairo                                                Last 4 digits of account number                                                        $301,918.00
          Nonpriority Creditor's Name
          623 Park Way                                               When was the debt incurred?
          South San Francisco, CA 94080
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.2
 8        David F. Hills                                             Last 4 digits of account number                                                        $124,000.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          7870 S. Powerline Rd.
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.2
 9        Dinius & Associates                                        Last 4 digits of account number       5178                                                  $227.78
          Nonpriority Creditor's Name
          5680 E. Franklin RD #130                                   When was the debt incurred?           July 2015
          Nampa, ID 83687
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Accounting services


 4.3
 0        Dish Network                                               Last 4 digits of account number                                                             $703.04
          Nonpriority Creditor's Name
          9601 S. Meridian Blvd.                                     When was the debt incurred?
          Englewood, CO 80112
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Satellite TV Services


 4.3
 1        Don Thornton                                               Last 4 digits of account number                                                        $360,000.00
          Nonpriority Creditor's Name
          PO Box 1495                                                When was the debt incurred?
          Nampa, ID 83653
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Loans made to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.




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 4.3
 2        Dorene Brumbaugh                                           Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          4511 Piute Pl                                              When was the debt incurred?
          Caldwell, ID 83607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.3
 3        DSA & Associates                                           Last 4 digits of account number                                                        $545,000.00
          Nonpriority Creditor's Name
          2463 Wythe Place                                           When was the debt incurred?
          Yorkville, IL 60560
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.3
 4        Earthwise Enterprises LLC                                  Last 4 digits of account number                                                         $70,000.00
          Nonpriority Creditor's Name
          PO Box 2491                                                When was the debt incurred?
          Ramona, CA 92065-0942
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.3
 5        Easton Press                                               Last 4 digits of account number                                                             $800.00
          Nonpriority Creditor's Name
          47 Richards Ave.                                           When was the debt incurred?
          Norwalk, CT 06857
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Printing services


 4.3
 6        Ed Tate                                                    Last 4 digits of account number                                                        $652,852.00
          Nonpriority Creditor's Name
          354 SW MT Mazama St                                        When was the debt incurred?
          McMinnville, OR 97128-5571
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.3
 7        First Premier Bank                                         Last 4 digits of account number       5290                                                  $500.00
          Nonpriority Creditor's Name
          Credit Card Department                                     When was the debt incurred?           2016 - current
          P.O. Box 5519
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card purchases




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 4.3
 8        First Premier Bank                                         Last 4 digits of account number       1756                                                  $500.00
          Nonpriority Creditor's Name
          Credit Card Department                                     When was the debt incurred?           2015 - current
          P.O. Box 5519
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Credit card purchases


 4.3
 9        Flash Investments, LLC                                     Last 4 digits of account number                                                        $370,000.00
          Nonpriority Creditor's Name
          PO Box 1150                                                When was the debt incurred?
          Fruitland, ID 83619
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.4
 0        Gayle Allen                                                Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          2078 S. Orchard                                            When was the debt incurred?
          Boise, ID 83705
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.4
 1        Gem State Radiology                                        Last 4 digits of account number       9335                                                    $24.20
          Nonpriority Creditor's Name
          P.O. Box 9649                                              When was the debt incurred?
          Boise, ID 83707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical Expense


 4.4
 2        Gemtek Pest Control                                        Last 4 digits of account number                                                             $180.64
          Nonpriority Creditor's Name
          3724 Plantation River Dr                                   When was the debt incurred?
          Suite 101
          Boise, ID 83703
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Sevices provided to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.

 4.4
 3        Geoffrey & Hicran Maina                                    Last 4 digits of account number                                                         $50,000.00
          Nonpriority Creditor's Name
          709 E Clay Avenue                                          When was the debt incurred?
          Brandon, FL 33510
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.4
 4        Hoggity Hill LLC                                           Last 4 digits of account number                                                        $541,000.00
          Nonpriority Creditor's Name
          2213 Blackspur Way                                         When was the debt incurred?
          Meridian, ID 83642
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.4
 5        Ideal Properties                                           Last 4 digits of account number                                                         $60,000.00
          Nonpriority Creditor's Name
          5010 W. Cassia St.                                         When was the debt incurred?
          Boise, ID 83705
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.4
 6        Inland Capital LLC                                         Last 4 digits of account number                                                        $256,584.08
          Nonpriority Creditor's Name
          120 N Stevens Street                                       When was the debt incurred?
          Suite 300
          Spokane, WA 99201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.




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 4.4
 7        Innovative Technologies, Inc                               Last 4 digits of account number                                                        $197,000.00
          Nonpriority Creditor's Name
          7870 S. Powerline                                          When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.4
 8        Jackie Daza                                                Last 4 digits of account number                                                         $70,000.00
          Nonpriority Creditor's Name
          8 Mikro                                                    When was the debt incurred?
          Laguna Niguel, CA 92677
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.4
 9        Jake Bishop                                                Last 4 digits of account number                                                         $20,000.00
          Nonpriority Creditor's Name
          6500 Robertson                                             When was the debt incurred?
          Boise, ID 83709
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.5
 0        Janelle Nelson                                             Last 4 digits of account number                                                        $741,314.00
          Nonpriority Creditor's Name
          11293 Greenhurst Road                                      When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.5
 1        Jeff & Tracey Petrillo                                     Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          1003 11th Avenue South                                     When was the debt incurred?
          Nampa, ID 83651
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.5
 2        Jim & Joanne Willis                                        Last 4 digits of account number                                                        $190,000.00
          Nonpriority Creditor's Name
          11250 W Royal Ridge Ct                                     When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.5
 3        Joan Fothergil                                             Last 4 digits of account number                                                         $60,500.00
          Nonpriority Creditor's Name
          6007 Chestnut Drive                                        When was the debt incurred?
          Boise, ID 83707
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.5
 4        Joe LaGue                                                  Last 4 digits of account number                                                         $50,000.00
          Nonpriority Creditor's Name
          14435 W Guinness Dr                                        When was the debt incurred?
          Boise, ID 83713
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.5
 5        Joe Thompson                                               Last 4 digits of account number                                                         $20,000.00
          Nonpriority Creditor's Name
          10120 Edna St.                                             When was the debt incurred?
          Boise, ID 83709
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.5
 6        John Fristad                                               Last 4 digits of account number                                                         $30,000.00
          Nonpriority Creditor's Name
          2017 E. Lagun Ave                                          When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.5
 7        Judyth Roberts                                             Last 4 digits of account number                                                         $70,000.00
          Nonpriority Creditor's Name
          29299 W. Firehawk Drive                                    When was the debt incurred?
          Buckeye, AZ 85396
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.5
 8        Justin Wilkerson                                           Last 4 digits of account number                                                         $80,000.00
          Nonpriority Creditor's Name
          110 Parkway Drive                                          When was the debt incurred?
          Boise, ID 83706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.5
 9        Kabbage                                                    Last 4 digits of account number                                                         $42,996.74
          Nonpriority Creditor's Name
          925B Peachtree Street NE                                   When was the debt incurred?
          Suite 1688
          Atlanta, GA 30309
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.6
 0        Katherine Fischer                                          Last 4 digits of account number                                                        $340,000.00
          Nonpriority Creditor's Name
          3 Wildwood Court                                           When was the debt incurred?
          Daly City, CA 94015
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.6
 1        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                         $54,654.94
          Nonpriority Creditor's Name
          FBO Diana Youngstrom IRA                                   When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 Debtor 1 Nathan Ward Pyles                                                                               Case number (if know)        17-01459-JDP

 4.6
 2        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                        $122,834.00
          Nonpriority Creditor's Name
          FBO Jere Robertson IRA                                     When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.6
 3        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                         $67,581.00
          Nonpriority Creditor's Name
          FBO Sally J Robertson IRA                                  When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.6
 4        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          FBO Coleen Reidenbaugh IRA                                 When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.6
 5        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                        $120,000.00
          Nonpriority Creditor's Name
          FBO Frank Younstrom IRA                                    When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.6
 6        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                         $15,000.00
          Nonpriority Creditor's Name
          FBO Alett R. Burlison IRA                                  When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.6
 7        Kingdom Trust Co., Custodian                               Last 4 digits of account number                                                        $327,780.00
          Nonpriority Creditor's Name
          FBO Lanny Johnson IRA                                      When was the debt incurred?
          PO Box 870
          Murray, KY 42071
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.6
 8        Kohler & Eyre                                              Last 4 digits of account number                                                           $3,500.00
          Nonpriority Creditor's Name
          1883 W. Royal Hunte Dr.                                    When was the debt incurred?
          Suite 201
          Cedar City, UT 84720
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Services provided to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.

 4.6
 9        Laina Romani                                               Last 4 digits of account number                                                        $300,000.00
          Nonpriority Creditor's Name
          280 Evergreen Drive                                        When was the debt incurred?
          South San Francisco, CA
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.7
 0        Liberty Enterprises, LLC                                   Last 4 digits of account number                                                        $147,889.85
          Nonpriority Creditor's Name
          Walt Holton, Manager                                       When was the debt incurred?
          P.O. Box
          Marsing, ID 83639
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Services provided to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.




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 4.7
 1        LoanMe, Inc.                                               Last 4 digits of account number                                                         $49,957.00
          Nonpriority Creditor's Name
          1900 S State College Blvd                                  When was the debt incurred?
          Suite 300
          Anaheim, CA 92806
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.7
 2        Lucille Borses Family Trust                                Last 4 digits of account number                                                         $75,000.00
          Nonpriority Creditor's Name
          1732 W. Clair Dr.                                          When was the debt incurred?
          Meridian, ID 83646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.7
 3        Marian Nelson                                              Last 4 digits of account number                                                         $25,000.00
          Nonpriority Creditor's Name
          21614 85th Pl. W                                           When was the debt incurred?
          Edmonds, WA
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.7
 4        Mark Perison/Tricia Soper                                  Last 4 digits of account number                                                           $3,175.00
          Nonpriority Creditor's Name
          Mark D. Perision PA                                        When was the debt incurred?
          P.O. Box 2575
          Boise, ID 83707-2535
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Legal services for Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.

 4.7
 5        MDF & C Investments LLC                                    Last 4 digits of account number                                                        $230,000.00
          Nonpriority Creditor's Name
          8820 S Stewart Road                                        When was the debt incurred?
          Meridian, ID 83642
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.7
 6        Melvin Copple                                              Last 4 digits of account number                                                        $115,000.00
          Nonpriority Creditor's Name
          4551 W. Saddle Ridge Dr                                    When was the debt incurred?
          Nampa, ID 83687
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.7
 7        Molly Graham                                               Last 4 digits of account number                                                         $75,000.00
          Nonpriority Creditor's Name
          509 E 51st Street                                          When was the debt incurred?
          Garden City, ID 83714
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.7
 8        Money Tree                                                 Last 4 digits of account number                                                         $35,000.00
          Nonpriority Creditor's Name
          2025 12th Ave Rd #160                                      When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.7
 9        Mountain West Bank IRA                                     Last 4 digits of account number                                                        $190,000.00
          Nonpriority Creditor's Name
          FBO Chet Pipkin                                            When was the debt incurred?
          10096 W Fairview Avenue #160
          Boise, ID 83704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.




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 4.8
 0        Nate Bishop                                                Last 4 digits of account number                                                         $50,000.00
          Nonpriority Creditor's Name
          3710 Kootenai                                              When was the debt incurred?
          Boise, ID 83705
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.8
 1        Nick Epper                                                 Last 4 digits of account number                                                        $100,000.00
          Nonpriority Creditor's Name
          403 Pony Express Blvd                                      When was the debt incurred?
          San Dimas, CA 91773
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.8
 2        Par Funding                                                Last 4 digits of account number                                                      $1,000,000.00
          Nonpriority Creditor's Name
          141 N 2nd Street                                           When was the debt incurred?
          Philadelphia, PA 19106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.8
 3        Pete Stogner                                               Last 4 digits of account number                                                         $70,000.00
          Nonpriority Creditor's Name
          2286 Leventine St.                                         When was the debt incurred?
          Suite A
          Carlsbad, CA 92009
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services


 4.8
 4        Philip Sorensen                                            Last 4 digits of account number                                                         $34,175.00
          Nonpriority Creditor's Name
          c/o Matt Steen, Attorney                                   When was the debt incurred?           2016 to March 2017
          4850 N Rosepoint Way #104
          Boise, ID 83713
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Services provided to Shiloh Management
           Yes                                                       Other. Specify     Services, Inc.,

 4.8
 5        Preston Roth IRA                                           Last 4 digits of account number                                                        $210,000.00
          Nonpriority Creditor's Name
          8960 Craydon Dr.                                           When was the debt incurred?
          Boise, ID 83704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.8
 6        Preston Roth IRA, LLC                                      Last 4 digits of account number                                                        $246,000.00
          Nonpriority Creditor's Name
          AND Cynthia Preston                                        When was the debt incurred?
          8960 Craydon Drive
          Boise, ID 83704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.8
 7        Professional Finance Company                               Last 4 digits of account number       7218                                                    $37.00
          Nonpriority Creditor's Name
          PO Box 1686                                                When was the debt incurred?
          Greeley, CO 80632-1686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Collection


 4.8
 8        Quality Properties, LLC                                    Last 4 digits of account number                                                        $240,000.00
          Nonpriority Creditor's Name
          7870 S. Powerline                                          When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.8
 9        Quest IRA                                                  Last 4 digits of account number                                                         $30,000.00
          Nonpriority Creditor's Name
          FBA Tammy Jean Reel IRA                                    When was the debt incurred?
          17171 Park Row #100
          Houston, TX 77084
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.9
 0        Rhonda Crist                                               Last 4 digits of account number                                                         $17,000.00
          Nonpriority Creditor's Name
          3040 N Willow Side Avenue                                  When was the debt incurred?
          Meridian, ID 83646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.9
 1        Rob Cairo                                                  Last 4 digits of account number                                                         $50,000.00
          Nonpriority Creditor's Name
          629 25th Ave                                               When was the debt incurred?
          San Francisco, CA
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.9
 2        Sag Mire Wie, LLC                                          Last 4 digits of account number                                                         $80,000.00
          Nonpriority Creditor's Name
          2212 E. Roanoke Dr.                                        When was the debt incurred?
          Boise, ID 83712
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.9
 3        Saltzer Medical Group                                      Last 4 digits of account number       8073                                                  $219.52
          Nonpriority Creditor's Name
          217 W. Georgia Avenue                                      When was the debt incurred?           2017
          Suite 115
          Nampa, ID 83686-6812
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical Expense


 4.9
 4        Self Directed IRA Services                                 Last 4 digits of account number                                                         $70,000.00
          Nonpriority Creditor's Name
          Custodian FBO Tracy Petrillo                               When was the debt incurred?
          PO Box 23149
          Waco, TX 76702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.




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 4.9
 5        St. Alphonsus - Nampa                                      Last 4 digits of account number       7176                                                  $214.20
          Nonpriority Creditor's Name
          1512 12th Avenue Road                                      When was the debt incurred?           April 2017
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical Expense


 4.9
 6        St. Alphonsus Medical Center                               Last 4 digits of account number       7176                                                  $306.00
          Nonpriority Creditor's Name
          1643 Lewis Ave                                             When was the debt incurred?           6/25/17
          Ste 203
          Billings, MT 59102
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Medical Expense


 4.9
 7        Starr Management Services                                  Last 4 digits of account number                                                        $150,000.00
          Nonpriority Creditor's Name
          4817 Southside                                             When was the debt incurred?
          Nampa, ID 83686
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.




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 4.9
 8        Steve and Melissa Bowdren                                  Last 4 digits of account number                                                         $75,000.00
          Nonpriority Creditor's Name
          2804 W. Sanbora Dr.                                        When was the debt incurred?
          Riverton, UT 84065
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.


 4.9
 9        Stock Boise, LLC                                           Last 4 digits of account number                                                        $932,000.00
          Nonpriority Creditor's Name
          PO Box 5551                                                When was the debt incurred?
          Boise, ID 83705
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 00       Susan & Phillip Emerson                                    Last 4 digits of account number                                                         $89,500.00
          Nonpriority Creditor's Name
          12058 Fiddler Drive                                        When was the debt incurred?
          Boise, ID 83713
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.




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 4.1
 01       The Arid Club                                              Last 4 digits of account number                                                           $1,000.00
          Nonpriority Creditor's Name
          1137 W. River St.                                          When was the debt incurred?
          Boise, ID 83702
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify

 4.1
 02       TLP Investments LLC                                        Last 4 digits of account number                                                        $110,000.00
          Nonpriority Creditor's Name
          7277 W Cascade Drive                                       When was the debt incurred?
          Boise, ID 83704
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 03       Tom Jones                                                  Last 4 digits of account number                                                         $50,000.00
          Nonpriority Creditor's Name
          809 N Marshall Street                                      When was the debt incurred?
          Boise, ID 83706
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.1
 04       Triple B LLC                                               Last 4 digits of account number                                                        $638,500.00
          Nonpriority Creditor's Name
          8737 Craydon Drive                                         When was the debt incurred?
          Boise, ID 83704-3312
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 05       TruGreen Processing Center                                 Last 4 digits of account number       0067                                                  $800.00
          Nonpriority Creditor's Name
          P.O. Box 78611                                             When was the debt incurred?
          Phoenix, AZ 85062
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a community                    Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Landscaping Services for Shiloh
           Yes                                                       Other. Specify     Management Services, Inc.

 4.1
 06       TVT                                                        Last 4 digits of account number                                                        $350,000.00
          Nonpriority Creditor's Name
          122 East 42nd Street                                       When was the debt incurred?
          Suite 2112
          New York, NY 10168
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
           Debtor 1 only                                             Contingent
           Debtor 2 only                                             Unliquidated
           Debtor 1 and Debtor 2 only                                Disputed
           At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

           Check if this claim is for a      community               Student loans
          debt                                                        Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

           No                                                        Debts to pension or profit-sharing plans, and other similar debts
           Yes                                                       Other. Specify     Loan to Shiloh Management Services, Inc.




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 4.1
 07        Walter McCarthy                                           Last 4 digits of account number                                                           $125,000.00
           Nonpriority Creditor's Name
           2295 N Linda Vista Place                                  When was the debt incurred?
           Boise, ID 83704
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community               Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Loans to Shiloh Management Services, Inc.


 4.1
 08        Yellowstone Capital                                       Last 4 digits of account number                                                            $50,000.00
           Nonpriority Creditor's Name
           1 Evertrust Plaza                                         When was the debt incurred?
           Jersey City, NJ 07302
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
            Debtor 1 only                                            Contingent
            Debtor 2 only                                            Unliquidated
            Debtor 1 and Debtor 2 only                               Disputed
            At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

            Check if this claim is for a     community               Student loans
           debt                                                       Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

            No                                                       Debts to pension or profit-sharing plans, and other similar debts
            Yes                                                      Other. Specify     Loan made to Clear Portal, LLC

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Chet Pipkin                                                   Line 4.79 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 11255 W. Camas St.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Boise, ID 83709
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Judyth Roberts                                                Line 4.57 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 3363 S Bridgeport Lane                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Boise, ID 83706
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Matt Sheen                                                    Line 4.84 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 STORER & ASSOCIATES                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 4850 N Rosepoint Wy, Ste 104
 Boise, ID 83713
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Patrick Law Group                                         Line 4.70 of (Check one):                Part 1: Creditors with Priority Unsecured Claims
 129 E. Pine Ave.                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 38 of 39
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
           Case 17-01459-JMM                          Doc 40          Filed 12/15/17 Entered 12/15/17 18:26:00                              Desc Main
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 Debtor 1 Nathan Ward Pyles                                                                             Case number (if know)     17-01459-JDP

 Meridian, ID 83642
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                          Total Claim
                        6a.   Domestic support obligations                                               6a.      $                      0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                       6b.      $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated             6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.    6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                   6e.      $                      0.00

                                                                                                                          Total Claim
                        6f.   Student loans                                                              6f.      $                      0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                      6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts          6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount       6i.
                              here.                                                                               $             14,217,903.62

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                6j.      $             14,217,903.62




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 39
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                                                                     Document     Page 42 of 52
 Fill in this information to identify your case:

 Debtor 1                Nathan Ward Pyles
                         First Name                         Middle Name          Last Name

 Debtor 2
 (Spouse if, filing)     First Name                         Middle Name          Last Name


 United States Bankruptcy Court for the:              DISTRICT OF IDAHO

 Case number           17-01459-JDP
 (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
        No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease              State what the contract or lease is for
                         Name, Number, Street, City, State and ZIP Code

     2.1      Dealernfa, Inc.                                                         sale of two machine guns: 1) MP41, 2) M15AC
              11251 NW 20th Street,
              Unit 107
              Miami, FL 33172




Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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              Case 17-01459-JMM                          Doc 40          Filed 12/15/17 Entered 12/15/17 18:26:00                    Desc Main
                                                                        Document     Page 43 of 52
 Fill in this information to identify your case:

 Debtor 1                   Nathan Ward Pyles
                            First Name                           Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF IDAHO

 Case number           17-01459-JDP
 (if known)
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

       No
       Yes
       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                 No
                 Yes.

                       In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                       Name of your spouse, former spouse, or legal equivalent
                       Number, Street, City, State & Zip Code


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         Clear Portal, LLC                                                                     Schedule D, line
                4817 Southside Blvd                                                                   Schedule E/F, line         4.13
                Nampa, ID 83686
                                                                                                      Schedule G
                                                                                                     Cash Capital



    3.2         Clear Portal, LLC                                                                     Schedule D, line
                4817 Southside Blvd                                                                   Schedule E/F, line         4.108
                Nampa, ID 83686
                                                                                                      Schedule G
                                                                                                     Yellowstone Capital




Official Form 106H                                                               Schedule H: Your Codebtors                                      Page 1 of 4
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 Debtor 1 Nathan Ward Pyles                                                                  Case number (if known)   17-01459-JDP


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.3      Clear Portal, LLC                                                                     Schedule D, line
             4817 Southside Blvd                                                                   Schedule E/F, line      4.12
             Nampa, ID 83686
                                                                                                   Schedule G
                                                                                                  Cardinal Equity, LLC



    3.4      Jeanette Pyles                                                                        Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.54
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Joe LaGue



    3.5      Jeanette Pyles                                                                        Schedule D, line       2.2
             6401 W. Overland                                                                      Schedule E/F, line
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Chase Auto Finance



    3.6      Jeanette Pyles                                                                        Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.5
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  American Express



    3.7      Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.16
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Chase Bank



    3.8      Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.84
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Philip Sorensen



    3.9      Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.54
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Joe LaGue




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 4
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 Debtor 1 Nathan Ward Pyles                                                                  Case number (if known)   17-01459-JDP


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.10     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.39
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Flash Investments, LLC



    3.11     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.55
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Joe Thompson



    3.12     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.75
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  MDF & C Investments LLC



    3.13     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.79
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Mountain West Bank IRA



    3.14     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.82
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Par Funding



    3.15     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.98
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Steve and Melissa Bowdren



    3.16     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.99
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Stock Boise, LLC




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 3 of 4
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 Debtor 1 Nathan Ward Pyles                                                                  Case number (if known)   17-01459-JDP


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                                                                                                  Check all schedules that apply:
    3.17     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.102
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  TLP Investments LLC



    3.18     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.107
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Walter McCarthy



    3.19     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.104
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Triple B LLC



    3.20     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.106
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  TVT



    3.21     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.59
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Kabbage



    3.22     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.78
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  Money Tree



    3.23     Shiloh Management Services, Inc                                                       Schedule D, line
             6401 W. Overland                                                                      Schedule E/F, line      4.71
             Meridian, ID 83642
                                                                                                   Schedule G
                                                                                                  LoanMe, Inc.




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 4 of 4
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Fill in this information to identify your case:

Debtor 1                      Nathan Ward Pyles

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF IDAHO

Case number               17-01459-JDP                                                                   Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
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Debtor 1    Nathan Ward Pyles                                                                     Case number (if known)    17-01459-JDP


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               0.00
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               0.00
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               0.00
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               0.00
      5e.   Insurance                                                                      5e.        $              0.00     $               0.00
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               0.00
      5g.   Union dues                                                                     5g.        $              0.00     $               0.00
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00     $               0.00
      8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               0.00
      8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
      8e. Social Security                                                                  8e.        $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify: Food Stamps                                                          8f.  $              650.00   $                     0.00
      8g. Pension or retirement income                                                     8g. $                 0.00   $                     0.00
      8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                     0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            650.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                     10. $               650.00 + $              0.00 = $           650.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $           650.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: Debtor has been receiving infrequent assistance from his friends and family to assist him and his
                             family




Official Form 106I                                                     Schedule I: Your Income                                                        page 2
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Fill in this information to identify your case:

Debtor 1                Nathan Ward Pyles                                                                  Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF IDAHO                                                          MM / DD / YYYY

Case number           17-01459-JDP
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                   No
      dependents names.                                                            Spouse                                                Yes
                                                                                                                                         No
                                                                                   Son                                  7                Yes
                                                                                                                                         No
                                                                                   Son                                  9                Yes
                                                                                                                                         No
                                                                                   Son                                  10               Yes
                                                                                                                                         No
                                                                                   Daughter                             13               Yes
3.    Do your expenses include                    No
      expenses of people other than
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,400.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00

Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1    Nathan Ward Pyles                                            Case number (if known)   17-01459-JDP




Official Form 106J                           Schedule J: Your Expenses                                             page 2
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Debtor 1     Nathan Ward Pyles                                                                         Case number (if known)      17-01459-JDP

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 250.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 225.00
      6d. Other. Specify: Internet                                                           6d. $                                                  75.00
7.    Food and housekeeping supplies                                                           7. $                                                650.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 25.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                  20.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 150.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  100.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Expenses                                                        21. +$                                                 35.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       3,955.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       3,955.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                 650.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              3,955.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -3,305.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 3
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